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6
                                UNITED STATES DISTRICT COURT
7                              EASTERN DISTRICT OF WASHINGTON

8     UNITED STATES OF AMERICA,
9
                       Plaintiff,               NO. CR-09-2074-LRS-4
10
                 v.
11                                              ORDER DECLARING MISTRIAL AND
      NICOLAS ROHRBACH,                         SETTING NEW TRIAL DATE AND
12                                              PRETRIAL CONFERENCE DATE
                       Defendant.
13

14         This matter came on for jury trial on April 26, 2010, and concluded
15
     on April 29, 2010, when the Court declared a mistrial on Count 13 in the
16
     Superceding Indictment (Ct. Rec. 313).             The government was represented
17
     by Assistant United States Attorney Thomas Hanlon, Esq. The Defendant,
18
     Nicolas Rohrbach, was present and represented by Ric Smith, Esq.                    This
19
     Order is entered to memorialize the oral rulings of the Court.
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21         On April 29, 2010, the jury in the above-captioned case sent a note

22   to the Court (Ct. Rec. 309), indicating that they were unable to reach

23   a unanimous verdict on Count 13 but they had reached a verdict on Count

24   12.   Following receipt of the note, the Court examined the jury, in the
25   presence of counsel, and the defendant.                   The Court then heard from
26   counsel for both parties outside of the jury’s presence as to whether the

     ORDER - 1
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1    Court   should    issue   any   further     supplemental       instruction.      Counsel
2    requested the Court to read the Ninth Circuit Criminal Model Jury
3    Instruction      7.7 (2003) for a deadlocked jury, which the Court did with
4    modification.
5
          Later on April 29, 2010, the jury sent another note (Ct. Rec. 311)
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     indicating they were unable to reach a unanimous verdict on Count 13
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     after further deliberation.         Following receipt of the note, the Court
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     examined the jury, in the presence of counsel, and the defendant. The
9
     Court concluded that the jury was hopelessly deadlocked and that further
10
     deliberation would not assist in reaching a unanimous verdict.                   Counsel
11
     for the parties did not object. The government requested the Court
12

13   declare a mistrial and Defendant objected to the same.

14        Accordingly,     the   Court   declared       a   mistrial     on   Count   13,   and

15   discharged the jury on April 29, 2010.

16        IT IS HEREBY ORDERED:
17        1.     The Court declares a MISTRIAL on Count 13 of the Superceding
18
     Indictment (Ct. Rec. 313).
19
          2.     Defendant's new speedy trial interval on Count 13 shall begin
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     with the entry of this Order memorializing the oral ruling of the Court.
21
     See 18 U.S.C. § 3161(e) (stating trial to “commence within seventy days
22
     from the date the action occasioning the retrial becomes final”); United
23

24   States v. Crooks, 804 F.2d 1441 (9th Cir. 1986) (holding under 18 U.S.C.

25   § 3161(e) that “district court’s order, not the dismissal of the jury,

26   constituted the action occasioning the new trial”).


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1         3.   Defendant’s NEW TRIAL is set for June 14, 2010 at 9:00 a.m. in
2    Yakima, Washington.        Counsel shall meet with the Court in Chambers at
3
     8:30 a.m. on the day of trial.             Any motions will be addressed at a
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     pretrial conference in open court at 8:30 a.m.
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          4. All pretrial motions, including motions in limine, must be filed
6
     and served NO LATER THAN May 20, 2010.               Responses and replies to any
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8    motions shall be filed and served in accordance with LR 7.1(c) and (d).

9         5.   The Pretrial Conference is SET for May 27, 2010 at 2:00 p.m. in

10   Yakima, Washington.        At this hearing, the Court will hear all pretrial
11   motions, including motions in limine.
12
          IT IS SO ORDERED. The District Court Executive is directed to enter
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     this order and to provide copies to counsel.
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          DATED this      3rd      day of May, 2010.
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17                                                  s/Lonny R. Suko
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18                                                   LONNY R. SUKO
                                             Chief United States District Judge
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     ORDER - 3
